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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )      Cause No. 1:13-cr-0111-TWP-DKL-1
                                               )
JONATHAN NEILL,                                )
                                               )
                       Defendant.              )



                            REPORT AND RECOMMENDATION

       On October 1, 2015, the Court held a hearing on the Petition for Warrant or Summons for

Offender Under Supervision filed on September 15, 2015. Defendant Neill appeared in person

with his appointed counsel, William Dazey. The government appeared by William McCoskey,

Assistant United States Attorney. U. S. Parole and Probation appeared by Officer Ryan Sharp.

       The Court conducted the following procedures in accordance with Fed. R. Crim. P.

32.1(a)(1) and 18 U.S.C. § 3583:

       1.       The Court advised Defendant Neill of his rights and provided him with a copy of

the petition. Defendant Neill waived his right to a preliminary hearing.

       2.       After being placed under oath, Defendant Neill admitted violations 1, 2, 3, 4, and

5. [Docket No. 76.]

       3.       The allegations to which Defendant admitted, as fully set forth in the petition, are:


       Violation
       Number          Nature of Noncompliance


            1          “The defendant shall not commit another federal, state, or local crime.”
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        2         “The defendant shall refrain from excessive use of alcohol and shall not
                  purchase, possess, use, distribute, or administer any controlled
                  substance or any paraphernalia related to any controlled substances,
                  except as prescribed by a physician.”

        3         “The defendant shall refrain from any unlawful use of a controlled
                  substance.”

                  On January 5, 2015, a urine sample was collected and the result was
                  negative. However, the offender admitted using Suboxone without a
                  prescription. The urine sample was sent to an independent laboratory for
                  testing and confirmed positive for Buprenorphine. The offender was
                  referred for drug treatment.

                  On January 29, 2015, a urine sample was collected and the offender tested
                  positive again for Buprenorphine. He was referred to a medical doctor and
                  received a prescription for Suboxone on February 14, 2015, due to his opiate
                  addiction. Drug treatment was increased to include weekly group sessions.

                  The Court was previously notified of the conduct above in a Report on
                  Offender Under Supervision filed April 30, 2015.

                  On July 17, 2015, the offender tested positive for amphetamines and
                  marijuana and he admitted using Adderall and marijuana two days earlier.
                  The offender’s therapist was notified and treatment sessions were increased.

                  On August 5, 2015, probation officers conducted a search of the offender’s
                  residence in Bloomington. Probation officers found digital scales, a pipe
                  and other drug paraphernalia. The offender’s cellular phone reflected
                  activities related to purchasing and using controlled substances (pills) for
                  personal use. A urine sample was collected and the defendant state he used
                  Adderall recently and marijuana on July 18, 2015. The results of the urine
                  sample were positive for marijuana and amphetamines. Subsequent testing
                  has been negative.


        4         “The defendant shall participate in a substance abuse treatment
                  program at the direction of the probation officer, which may include
                  no more than eight drug tests per month. The defendant shall abstain
                  from the use of all intoxicants, including alcohol, while participating in
                  a substance abuse treatment program. The defendant is responsible
                  for paying a portion of the fees of substance abuse testing and/or
                  treatment in accordance with his/her ability to pay.”




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                        The offender missed two substance abuse group counseling sessions on July
                        8 and 15, 2015. On July 17, 2015, the probation officer confronted the
                        offender about missing group. Mr. Neill stated he really did not get
                        anything out of group sessions, so he quit going. He was instructed to
                        resume treatment and did so promptly.

            5.          The defendant shall not associate with any persons engaged in criminal
                        activity and shall not associate with any person convicted of a felony,
                        unless granted permission to do so by the probation officer.

                        On August 5, 2015, the defendant’s cellular phone indicated he had been
                        having contact with felons, including co-defendant Jamie Smith
                        (1:13CR00111-002).


       4.        The parties stipulated that:

                 (a)    The highest grade of violation is a Grade B violation.

                 (b)    Defendant’s criminal history category is IV.

                 (c)    The range of imprisonment applicable upon revocation of supervised
                        release, therefore, is 12 to 18 months’ imprisonment.

       5.        The parties jointly recommended a modification to Defendant Neills’s current

conditions of supervised release to include home detention with electronic monitoring for a

period of six (6) months.

       The Magistrate Judge, having considered the factors in 18 U.S.C. § 3553(a), and as more

fully set forth on the record, finds that the Defendant violated the conditions in the petition, that

his supervised release should be modified to include home detention with RF monitoring for a

period of 6 months.




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       The parties are hereby notified that the District Judge may reconsider any matter assigned

to a Magistrate Judge. The parties have fourteen days after being served a copy of this Report

and Recommendation to serve and file written objections with the District Judge.

       Dated:
                     10/02/2015




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